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                                                                    EXHIBIT N




                                                        DATE FILED: December 10, 2020
   Colorado Court of Appeals                            CASE NUMBER: 2020CA1775
   2 East 14th Avenue
   Denver, CO 80203

   Mesa County
   2018CV50

   Plaintiff-Appellant:

   Alyssa C Montalbano,                                  Court of Appeals Case
                                                         Number:
   v.                                                    2020CA1775

   Defendant-Appellee:

   James Corey Goode.

                               ORDER OF THE COURT


  To: Appellant

        After review of the December 2, 2020 motion, which the Court construes as

  a motion to reconsider the November 19, 2020 order dismissing the appeal, the

  Court DENIES the motion.



                                             BY THE COURT
                                             Terry, J.
                                             Grove, J.
                                             Gomez, J.
